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                   13                               UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                       OAKLAND DIVISION

                   16

                   17   In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                 GOOGLE LLC’S REPLY BRIEF IN SUPPORT
                                                                      OF DAUBERT MOTION TO EXCLUDE
                   19                                                 PLAINTIFFS’ EXPERT NEIL RICHARDS
                        This Document Relates to: all actions
                   20                                                 Judge:     Hon. Yvonne Gonzalez Rogers
                                                                      Courtroom: 1, 4th Floor
                   21                                                 Date:      TBD
                                                                      Time:      TBD
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                    1   I.       INTRODUCTION

                    2            The Opposition (“Opposition”) to Google’s Motion to Exclude Neil Richards (“Motion”)

                    3   (Dkt No. 582) does nothing to alter the fact that the Richards Report—in which a law professor

                    4   repeatedly opines on the existence of “common evidence” in support of Plaintiffs’ motion for class

                    5   certification—fails to meet Rule 702’s requirements. 1 Every argument raised in the Opposition is

                    6   meritless. First, Plaintiffs argue that Prof. Richards’ opinions regarding whether there is “common

                    7   evidence” in this case are not improper because his Report does not use phrases such as “Rule 23”

                    8   and “certify.” But expert opinion is not admissible merely because it carefully avoids using legal

                    9   jargon; instead, courts look to whether the report invades the province of the Court by opining on

                   10   legal standards. Here, even a cursory review of the Richards Report with its repeated use of Rule

                   11   23’s predominance standard, makes clear that Prof. Richards is improperly opining on legal issues.

                   12            Second, Plaintiffs erroneously argue that Prof. Richards’ qualifications as a legal privacy

                   13   and history scholar qualify him to opine on the specific expectations that Google account holders

                   14   have with respect to Google RTB. But there is no academic or legal support for that argument. Nor,

                   15   as a privacy scholar, does he have expertise to opine on whether “common evidence” exists. Indeed,

                   16   in his Report, Prof. Richards does not even try to explain how his experience in privacy allows him

                   17   to conclude that certain facts or documents apply to all class members.

                   18            Third, Plaintiffs completely ignore Google’s arguments regarding the application of Prof.

                   19   Richards’ historical “analysis,” in which he defined “societal” norms with nothing more than

                   20   circular reasoning. Plaintiff have thus conceded Google’s argument and his entire report is

                   21   inadmissible on that basis alone.

                   22   II.      ARGUMENT

                   23            A.      The Court Should Exclude Prof. Richards’ Legal Conclusions.
                   24
                                         1.     Prof. Richards’ Opinions Regarding the Existence of “Common
                   25                           Evidence” Are Impermissible Legal Conclusions

                   26            The Opposition makes two main arguments that Prof. Richards did not improperly offer
                   27   legal opinions (Opinions 2, 4–5) on whether “common evidence” exists as to key issues that
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                            Capitalized terms, unless otherwise noted, have the same meaning as in the Motion.
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                    1   Plaintiffs must show to prevail on class certification. Plaintiffs first argue that the Richards Report

                    2   does not “transparently” (or explicitly) reference the propriety of “certifying a class” or “the

                    3   requirements of Rule 23” and thus does not offer any improper legal conclusions. (Opp. at 7–8)

                    4   Plaintiffs also claim that Prof. Richards’ opinions only “weigh[] in on the factual questions that

                    5   undergird the class-certification decision.” (See id.) Both arguments are meritless.

                    6            As an initial matter, Plaintiffs claim that Prof. Richards did not proffer legal opinions

                    7   because they were not “couched in legal terms” or they did not “transparently opin[e]” about

                    8   whether the court could certify the class under Rule 23’s requirements. (Id. at 7.) Plaintiffs,

                    9   however, do not provide a single citation for this novel argument. Were they correct, experts could

                   10   simply cloak legal opinions in expert testimony by avoiding the use of overt legal terminology.

                   11   That is neither logical nor supported by case law. Instead, every case cited by Google in its Motion

                   12   (Mot. at 10–13) makes clear that experts may not opine on the legal standards for class certification

                   13   (including whether such standards are satisfied or not) because those opinions “invade on the

                   14   province of the Court.” See, e.g., LD v. United Behavioral Health, 2023 WL 2806323, at *3 (N.D.

                   15   Cal. Mar. 31, 2023) (Gonzales Rogers, J.). It is not, as Plaintiff suggests, the explicit reference to

                   16   Rule 23 or using the word “certify” that makes an opinion improper, but rather the substance and

                   17   scope of the actual opinion offered.

                   18            For example, in Weidman v. Ford Motor Company, 646 F. Supp. 3d 928, 934 (E.D. Mich.

                   19   2022), the court excluded an expert’s opinion that the case involved “entirely common evidence”

                   20   because it was an “improper legal conclusion.” The expert there did not use phrases such as “Rule

                   21   23” or state that a class should be “certified” in his report. 2 Likewise, in Littler v. Ohio Association

                   22   of Public School Employees, the court excluded an expert who opined on various “common”

                   23   questions in connection with a bid for class certification, but did not explicitly opine that a class

                   24   should be “certified.” 2020 WL 1861646, at *5 (S.D. Ohio Apr. 14, 2020) (also opining that named

                   25   plaintiffs’ claims were “typical” of the class). The court there rejected the argument that an expert’s

                   26   testimony is permissible so long as he or she does not openly opine on the propriety of class

                   27   certification, but instead uses terms redolent of legal analysis: “While these words have lay usages,

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                            Weidman v. Ford Motor Co., No. 18-cv-12719 (E.D. Mich.), Dkt. No. 152-2 (Walker Report).
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                    1   they have legal meaning in the class certification context, and [the expert’s] report makes clear that

                    2   he inappropriately uses these words in their legal sense to draw legal conclusions.” Id. at *4–5

                    3   (“Expert testimony that is so ‘carefully couched in the precise language used in case law’ is

                    4   ‘particularly suspect’ because it indicates either ‘a keen awareness by [the expert] of the direction

                    5   in which he had to head, or else careful coaching prior to his testimony.” (citing Berry v. City of

                    6   Detroit, 25 F.3d 1342, 1353 (6th Cir. 1994))).

                    7           As in Weidman and Littler, Prof. Richards has couched his opinions here regarding

                    8   “common evidence” in language that mirrors a key legal standard this Court will apply in

                    9   adjudicating Plaintiffs’ motion for class certification. Indeed, a trained lawyer, Prof. Richards made

                   10   clear during deposition that his “role in this case” was “to determine whether there is common

                   11   evidence from which a jury may conclude that something is the case.” (Richards Depo Tr. at 128:4–

                   12   7 (emphasis added).) He further testified, “common evidence” means “evidence of factual matters

                   13   . . . that runs through the class . . . as I understand it, that a certain proposition may be true or not.”

                   14   (Id. at 130:22–131:2 (emphasis added).) This conveniently parrots the precise legal question the

                   15   Court must confront in determining whether Plaintiffs have satisfied Rule 23. See, e.g., Olean

                   16   Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 666 (9th Cir. 2022) (en

                   17   banc) (requiring plaintiffs to demonstrate the essential elements of their claims can be “established

                   18   through a common body of evidence, applicable to the whole class”). Indeed, Plaintiffs cite to the

                   19   Richards Report for this very purpose, using the phrase “common evidence” nearly 25 times in

                   20   their motion for class certification. (See, e.g., Class Cert. Mot. at 20–21 (citing to the Richards

                   21   Report alone to argue there is “common evidence” of a reasonable expectation of privacy and the

                   22   “highly offensive” nature of the alleged intrusion).) 3 Because it is clear that Plaintiffs attempt to

                   23   evade the province of the jury by having Prof. Richards offer opinions on whether “common

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                          Plaintiffs’ claim in cursory fashion that Google fails to “pars[e]” out Opinions 2, 4–5 and instead
                   25   seeks to exclude them entirely—but Plaintiffs do not fully explain their logic. (See Opp. at 8–9.)
                        Plaintiffs do not dispute these Opinions are all couched in terms of there being “common evidence”
                   26   or that the purpose of the Richards Report was to assess whether “common evidence” existed as he
                        stated at deposition—yet do not explain how “pars[ing]” these opinions out would demonstrate that
                   27   they are not intended to opine on “common evidence” here. Google moved to exclude opinions
                        using “common evidence” and similar phrases because they are improper legal conclusions, but
                   28   Google did not rely on those grounds to exclude other opinions that did not use similar terminology.
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                        Weidman endorses this approach.
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                    1   evidence” in this case exists, Opinions 2, 4–5 should be excluded.

                    2           Moreover, Plaintiffs’ ever-shifting characterizations of Prof. Richards’ opinions should

                    3   invite closer scrutiny of his Report. Prof. Richards testified repeatedly and unequivocally that he

                    4   did not, and was not, offering Opinions 2, 4, and 5 on underlying factual “propositions” – but rather

                    5   just as his Report claims, on whether “common evidence” existed. 4 (Richards Rpt. ¶¶ 6–7, 118.)

                    6   Unsurprisingly then, the term “common evidence” appears in his Report nearly 20 times. (Id. ¶¶ 6–

                    7   7, 74, 93, 100, 103, 110, 113, 118, 126, 129, 131–34, 136; id. pgs. 38, 56 (referring to “common

                    8   evidence” or “common proof” in section headers).) But in support of their argument that Prof.

                    9   Richards’ opinions merely “weigh[] in on the factual questions that undergird the class-certification

                   10   decision,” (Opp. at 7), Plaintiffs appear to claim that Prof. Richards’ opinions actually shed light

                   11   on how privacy rights “are [in fact] implicated” (and not just the existence of common evidence of

                   12   those facts), (id. at 9). Indeed, in describing Opinion 3, Plaintiffs claim that the “common evidence”

                   13   he reviewed “give[s] rise to a common (false) expectation that Google does not offer for sale or sell

                   14   [user] information.” (Id. at 5). The Court should reject Plaintiffs’ blatant attempt to reformulate

                   15   Prof. Richards’ opinions to suit their arguments at whim.

                   16           To the extent the Court finds that Prof. Richards could permissibly offer an expert opinion

                   17   on whether “common evidence” is satisfied at class certification (it should not), Prof. Richards did

                   18   not actually perform that analysis. He does not describe how the pieces of evidence he describes

                   19   apply to all class members. For instance, he fails to show that putative class members all read and

                   20   understood Google’s disclosures, let alone detail how Google account holders even agree to

                   21   Google’s Privacy Policy during the account creation process. Thus, even accepting that he was

                   22   looking only into the factual question of common evidence, he did not undertake the required

                   23   analysis, nor does he explain how such an analysis is part of an accepted historical methodology

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                   25     See Richards Depo Tr. at 129:15–21 (“I was – in drafting my report, I took very seriously the –
                        the – my role and the idea that I should not opine on ultimate questions of law or fact and had to
                   26   restrict my opinions to whether there was – for – for common questions of fact. For instance,
                        whether there was, in fact, common questions of fact.”), 126:19–23 (“I don’t understand my role
                   27   in this matter as an expert, as a privacy expert, to be to go towards the ultimate questions in this
                        case. My testimony is that there is common evidence from which a jury may conclude that this is
                   28   the case.”), 130:2–6 (“So if it – if it were to be an ultimate question, then [my opinion] would be –
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                        there’s common evidence to that fact.”).
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                    1   since historians do not generally opine on the applicability of common evidence to class members.

                    2
                                       2.      Prof. Richards Opines that Google Breaches a Contract with Plaintiffs,
                    3                          Which Plaintiffs Completely Ignore in Their Opposition.

                    4          Plaintiffs’ primary opposition to Google’s arguments that Prof. Richards has offered an

                    5   improper legal opinion on breach of contract (Opinion 4; see also Richards Rpt. ¶¶ 86–87, 118,

                    6   136) is a very narrow one. Focusing on Google’s contention that Prof. Richards opines on the

                    7   meaning of “personal information” in the Privacy Policy, (Mot. at 13), Plaintiffs claim that Prof.

                    8   Richards only “quotes” the Privacy Policy and, as such, does not offer a legal opinion, (see Opp. at

                    9   9). Not so. In his report, Prof. Richards does more than “quote” from the Privacy Policy in opining

                   10   on what “personal information” means. His definition, in fact, is cobbled together from various

                   11   clauses in the Privacy Policy—which are separated by multiple sections and hundreds of words.

                   12   (See Richards Rpt. ¶¶ 86–87.) It is the piecing together of various, unconnected, and distinct quotes

                   13   that make his opinion an improper legal conclusion about the meaning of a disputed contractual

                   14   term. As this Court previously explained, it was improper for an expert to piece together “multiple”

                   15   parts of contracts “to define the terms of an agreement.” See, e.g., Dolby Labs Licensing Corp., v.

                   16   Adobe Inc., 2019 WL 6327210, at *2 (N.D. Cal. Nov. 26, 2019) (Gonzalez Rogers, J.) (“To claim

                   17   that a person dressed as an expert can opine in court and seek to interpret the contracts at the core

                   18   of the parties’ dispute would usurp the jury’s role of resolving contract disputes and open the door

                   19   to ‘legal experts’ frequenting the courtroom.”).

                   20          More importantly, their Opposition completely ignores Google’s core argument that Prof.

                   21   Richards repeatedly opines about specific “promises” that Google made and then “violated.” (See

                   22   Mot. at 13–14; Richards Rpt. ¶¶ 118 (referring to “Google’s violations of its promises”), 136

                   23   (“Google’s promises to put its users in control with respect to Google RTB data are false”); see

                   24   also Richards Depo Tr. at 214:9–16 (explaining that “it remains [his] opinion” that Google

                   25   “violates” its promises not to share or sell personal information with third parties “millions of times

                   26   a day”).) These opinions directly track Plaintiffs’ theory for breach of contract in this case. See N.

                   27   Wind Construction Servs., LLC v. Campos EPC, LLC, 2023 WL 4628176, at *5 n.7 (D. Idaho July

                   28   18, 2023) (holding that where an expert’s opinion ultimately “means breach of contract, it would
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                    1   be an improper conclusion of law”). Because Plaintiffs did not respond to this argument, the Court

                    2   should exclude these opinions.5 See Stichting Pensioenfonds ABP v. Countrywide Fin. Corp., 802

                    3   F. Supp. 2d 1125, 1132 (C.D. Cal. 2011) (noting that, generally, “failure to respond in

                    4   an opposition brief to an argument put forward in an opening brief constitutes waiver or

                    5   abandonment in regard to the uncontested issue” (quotations and citation omitted)).

                    6
                               B.      Prof. Richards’ Opinions Should Be Excluded Because He Is Not Qualified to
                    7                  Offer Them and They Are Not Reliable.

                    8          Prof. Richards concedes that he used “qualitative” methods to reach the opinions in this

                    9   case. (Opp. at 18.) Courts should pay particular attention to a qualitative expert’s qualifications and

                   10   logic: specifically, “whether the expert’s experience supports the expert’s conclusions” and

                   11   “whether the expert’s reasoning is circular, speculative, or otherwise flawed,” including if the

                   12   “reasoning is adequately explained.” United States v. Holguin, 51 F.4th 841, 855 (9th Cir. 2022).

                   13
                                       1.      Plaintiffs Conflate Prof. Richards’ Qualifications in Privacy Law and
                   14                          Legal History for Consumer Behavior and Expectations.

                   15          Plaintiffs argue that Prof. Richards is qualified to opine on consumer expectations (Opinions

                   16   1–5) because he is an expert on “consumer privacy.” (Opp. at 19.) They further claim his opinions

                   17   regarding the expectations of Google account holders should not be excluded simply because he

                   18   lacks “formal training” in “consumer behavior,” does not have a “degree” in marketing, and does

                   19   not have experience running either focus groups or surveys. (Id.) Finally, Plaintiffs claim Google’s

                   20   argument as to Opinion 2 is “ill-fitted” because Prof. Richards simply opines on “societal norms,”

                   21   not “consumer expectations.” (Id. at 14.) None of these arguments are persuasive, and Plaintiffs

                   22   do not address Google’s argument that Prof. Richards is unqualified to offer any of his opinions.

                   23          First and foremost, Prof. Richards explicitly limited his expertise in this case to two areas

                   24   only: data privacy law and legal history. (Richards Depo Tr. at 42:19–22.) Studying privacy law

                   25   and its legal history is not the same as studying current-day consumer expectations. Prof. Richards

                   26   does not study consumer expectations; his academic work focuses on privacy law, including writing
                        5
                   27    In fact, Plaintiffs agree that Prof. Richards offers a legal conclusion: “Here, Professor Richards’
                        opinion is that Google’s promises to not sell or share personal information of account holders are
                   28   uniform and therefore apply to all class members, including the named plaintiffs.” (Opp. at 21:21–
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                        22:9 (citing Prof. Richards’ deposition testimony stating the same).)
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                    1   articles about how the legal framework for privacy law should be changed. The fact that privacy

                    2   law may concern some consumers, in addition to other non-consumers, is not enough to allow Prof.

                    3   Richards to opine about specific expectations (i.e., “false expectations”) that specific consumers

                    4   (i.e., Google account holders) have regarding a specific service (i.e., Google RTB). A privacy law

                    5   professor is not an expert on all issues implicated by privacy. As one court explained, while “it is

                    6   true that asbestos, heart valves, and cupcakes can all be broken down into their basic atomic

                    7   particles,” that “does not mean an atomic physicist is qualified to testify regarding any asbestosis,

                    8   medical malpractice, or confectionary issue.” See Smith v. Goodyear Tire & Rubber Co., 495 F.3d

                    9   224, 227 (5th Cir. 2007); see also Brown v. Google, 2022 WL 17961497, at *9–11 (N.D. Cal. Dec.

                   10   12, 2022) (rejecting a “security technologist” from opining “about the purported expectations and

                   11   understandings of ‘reasonable users’” because “he does not have specialized expertise in opining

                   12   about the purported understandings and expectations of consumers specifically” and it would be

                   13   improper for him to “merely impute his own opinions to those of a reasonable consumer”).

                   14          For the similar reasons, Prof. Richards is not an expert at opining on the standards for class

                   15   certification, including whether there is “common evidence” in the case. Prof. Richards did not

                   16   hold himself out as an expert on class actions or certification, and his privacy qualifications are not

                   17   enough for him to opine on whether this case is amenable to class-wide treatment. And nothing

                   18   about his training allows him to opine on whether evidence is common to a defined class of people.

                   19          Plaintiffs’ reliance on Brooks v. Thomson Reuters Corporation, 2023 WL 5667884 (N.D.

                   20   Cal. Aug. 2023) in support of Opinion 4 is misplaced; that decision illustrates precisely why Prof.

                   21   Richards is not qualified to offer any opinions in his report regarding consumer expectations. (See

                   22   Opp. at 13.) In Brooks, the defendant sought to exclude the opinions of Joseph Turow, a professor

                   23   of “Media Systems and Communications” at the University of Pennsylvania. Id. at *5. Prof.

                   24   Turow’s research focuses on “the internet, marketing, society, privacy, and mass media” and he

                   25   has “been awarded on his work on privacy and digital audience targeting.” Id. Prof. Turow

                   26   conducted “nine major national surveys” since 1999 to “explore American’s knowledge and

                   27   opinions about surveillance issues regarding the digital world.” Brooks v. Thomson Reuters Corp.,

                   28   No. 21-cv-01418-EMC, Dkt. No. 148-3, Expert Report of Professor Turow (“Turow Rpt.”) at 5.
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                    1   The court noted that Prof. Turow has expertise in both privacy and marketing, not just the former.

                    2   Brooks, 2023 WL 5667884, at *5 (expertise “rests on solid credentials and qualifications as a

                    3   privacy and marketing scholar” (emphasis added)).6 Based on these qualifications, Prof. Turow

                    4   could opine on whether the societal privacy interests of class members were harmed.

                    5          Here, unlike Prof. Turow in Brooks, Prof. Richards is only qualified in the law, and

                    6   specifically privacy law and legal history. And unlike Prof. Turow, Prof. Richards lacks any

                    7   qualifications in “marketing, society, . . . and mass media”, whether through formal, informal, or

                    8   practical training of any sort. Nor does Prof. Richards have any experience in “digital audience

                    9   targeting,” as Prof. Turow does. Further, Prof. Richards has not conducted any surveys (let alone

                   10   nine major national ones) to understand the expectations of consumer opinions regarding privacy

                   11   and the digital world (let alone one regarding just privacy) because, as he conceded, he is not

                   12   qualified to do so. (Richards Dep Tr. at 48:18–21, 50:12–20.) Nor has he previously conducted

                   13   focus groups, again, likely because he is unqualified. (Id. at 48:15–17, 48:22–25.) Prof. Richards’

                   14   experience is entirely distinct from Prof. Turrow’s expertise in marketing, mass media, and digital

                   15   audience targeting. At bottom, there are few similarities between Prof. Turow and Prof. Richards.

                   16          Second, Google’s argument regarding Prof. Richards’ lack of qualifications applies with

                   17   equal force to Opinion 5. (See Opp. at 12.) Despite dubbing Prof. Richards’ experience as one in

                   18   “consumer privacy expectations,” (id. at 13), Plaintiffs do not explain how studying the legal

                   19   framework for protecting privacy rights qualifies Prof. Richards to opine that “Google’s promises

                   20   to put its users in control with respect to Google RTB data are false,” (see Richards Rpt. ¶ 136

                   21   (emphasis added)). He does not, for example, compare Google’s disclosures and consent rates to

                   22   industry standards in support of Opinion 5. (See, e.g., Richards Depo Tr. at 187:7–10 (conceding

                   23   he does not know what the opt-out rates are for other advertising platforms).) Instead, he uses his

                   24   purported expertise in privacy law (which, as applied in this case, are ultimately just Prof. Richards’

                   25   own beliefs) to opine on how putative class members felt about Google’s consent mechanisms.

                   26          Finally, Plaintiffs respond that Google’s argument as to Opinion 2, and the fact that Prof.

                   27
                        6
                   28     Plaintiffs note that the Brooks court found Prof. Turow’s “expertise…rests on solid credentials,”
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                        (Opp. at 13), but omit that those credentials were as a “privacy and marketing scholar.”
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                    1   Richards is not qualified to offer it, is “ill-fitted” because Opinion 2 does not explicitly reference

                    2   “consumer expectations.” (Opp. at 14.) But, as explained below, (infra, Section III.B.2.b), Opinion

                    3   2 is based on Prof. Richards’ definition of a “societal norm” which he conflates with “consumer

                    4   expectations” repeatedly. (See Richards Rpt. ¶ 29 (equating “societal norms” with the “reasonable

                    5   expectation of privacy,” which according to Prof. Richards, is “the test” for whether privacy rights

                    6   have been violated “in both law and consumer expectations”).)

                    7          Prof. Richards does not have the requisite qualifications to “present the opinion[s] offered”

                    8   in his report regarding the expectations of Google account holders, see Lewert v. Boiron, Inc., 212

                    9   F. Supp. 3d 917, 924 (C.D. Cal. 2016), and the Court should therefore exclude them.

                   10                  2.      The Methods Prof. Richards Employed Are Not Reliable Because They
                                               Are Not Commonly Accepted But Instead Are Flawed and Circular.
                   11
                                               a.      Prof. Richards’ Application of Legal Principles to Analyze and
                   12                                  Opine About Consumer Expectations Has No Scientific Basis.
                   13          Plaintiffs admit (Opp. at 16) that an expert “must point to some objective source, whether a

                   14   treatise or a published article in a reputable journal, “to show that they have followed the scientific

                   15   method, as it is practiced by (at least) a recognized minority of scientists in their field,” Daubert v.

                   16   Merrell Dow Pharms., Inc. (“Daubert II”), 43 F.3d 1311, 1319 (9th Cir. 1995) (quotations omitted);

                   17   Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 594 (1993) (requiring courts to assess “the

                   18   existence and maintenance of standards controlling the technique’s operation” in determining the

                   19   reliability of an expert’s methods). But as the Opposition tacitly concedes, no court or academic

                   20   has endorsed using principles from privacy law to understand the current-day expectations of

                   21   consumers in a specific marketplace. Yet that is precisely what Prof. Richards has done.

                   22          Here, Prof. Richards relied on legal jurisprudence, legislation regarding privacy rights, and

                   23   law review articles (including his own) to opine on the expectations and understandings that Google

                   24   account holders currently have with respect to Google RTB and the types of information allegedly

                   25   transmitted through the service. But Prof. Richards does not—and cannot—“point to some

                   26   objective source” suggesting that such methods are employed by even a “minority” of practitioners

                   27   in his field. See Daubert II, 43 F.3d at 1319. Nor does Prof. Richards explain how legal historians,

                   28   relying on documents and literature not tailored to any particular product or set of users, can assess
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                    1   current-day consumer expectations and beliefs in the marketplace. When asked for the basis on

                    2   which Prof. Richards believed it was proper for him to apply legal principles in understanding

                    3   current-day consumer expectations, he repeatedly cited his “living in society,” among other

                    4   unscientific methods, including “by reading [and] by thinking.” (Richards Depo Tr. at 95:22–96:3;

                    5   see id. 116:11–16, 117:2–4.) Plaintiffs do not cite to any basis, aside from Prof. Richards’ own ipse

                    6   dixit, that it is proper for an expert to use historical doctrine to understand the present-day

                    7   expectations of a class of consumers in the marketplace as to a specific service.

                    8          Plaintiffs fare no better with Prof. Richards’ contention that he can simply use the legal

                    9   doctrine of “reasonable expectation of privacy” and conflate it with an examination of “consumer

                   10   expectations.” Plaintiffs claim such conflation is supported by academic literature and Prof.

                   11   Richards’ “25 years of experience thinking about the concept as a professional scholar.” (Opp. at

                   12   17–18.) But, when asked during deposition why he believed that the “reasonable expectation of

                   13   privacy” standard “permeated” the field of studying “consumers’ expectations,” Prof. Richards

                   14   responded, he “observed both in [his] work and in [his] living in our society people talking about

                   15   privacy in these terms regularly” but provided no other details. (Richards Depo Tr. at 116:23–

                   16   117:4; see id. at 44:21–25 (citing to general and vague conversations with individuals regarding

                   17   privacy during the past 20 years as a basis for his opinions), 87:13–19 (same), 99:21–100:6 (same),

                   18   123:10–14 (same).) This is precisely the type of methodologically flawed expert testimony that the

                   19   Ninth Circuit has ruled warrants exclusion. See Grodzitsky v. Am. Honda Motor Co., Inc., 957 F.3d

                   20   979, 985 (9th Cir. 2020) (excluding an expert from opining on vehicle defects based on “just a real

                   21   world driving around test”).

                   22          The Court should reject Prof. Richards’ methodology because Plaintiffs fail to show that it

                   23   has been accepted by any scientists or researchers, whether in legal history or consumer behavior,

                   24   let alone a “minority” of them. See Daubert II, 43 F.3d at 1319; see also Fed. R. Civ. P. 702 (2022

                   25   Amendment) (offering party must show it is “more likely than not” expert testimony is reliable).

                   26
                                               b.      The “Qualitative” Methods Prof. Richards Purports to Apply
                   27                                  Are Flawed, Circular, and Highly Unreliable.

                   28          Even if the Court found that Prof. Richards’ stated approach is accepted by other scientists
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                    1   (it should not), the way he employed those methods renders his report unreliable. As a threshold

                    2   matter, Plaintiffs ignore Google’s argument that Prof. Richards engaged in highly circular

                    3   reasoning—a flaw present in each of his opinions. (Mot. 17–18; Opp. at 16–19.) Because Plaintiffs

                    4   do not address this argument in the Opposition and have thus waived any response, the Court should

                    5   exclude all of Prof. Richards’ opinions on this basis. See Stichting, 802 F. Supp. 2d at 1132.

                    6          As noted above, Prof. Richards conflates “consumer expectations” and the “reasonable

                    7   expectation of privacy” with “societal norms,” a repackaged term to refer to the distinct concepts.

                    8   (Richards Rpt. ¶ 29.) Many of Prof. Richards’ opinions rest on his determination regarding “societal

                    9   norms,” a term he defined as a “generally accepted norm,” which in turn means one that is

                   10   “commonly understood to be accepted.” If this wasn’t circular enough, he added this entire

                   11   endeavor requires “judgment grounded in expertise”—all of which boils down to Prof. Richards’

                   12   subjective beliefs and “erudition” in privacy law. (Richards Depo Tr. at 96:7–11, 97:16–19, 98:6–

                   13   12, 99:24–25.) Indeed, reinforcing the sheer unreliability of the “societal norm” definition here,

                   14   when asked how his “judgment grounded in expertise” was applied in this case, Prof. Richards

                   15   referenced “countless” readings and conversations over two decades before testifying that

                   16   “ultimately the determination” of defining societal norms is based on only his “expertise.”

                   17   (Richards Depo Tr. at 99:21–100:25; see id. at 44:21–25, 87:15–19, 99:21–100:6, 123:11–14.) In

                   18   fact, the article Plaintiffs cite in their Opposition makes clear that historical analysis requires

                   19   analyzing adverse sources, Maxine D. Goodman, Slipping Through the Gate, 60 BAYLOR L. REV.

                   20   824, 857 (2008), but Prof. Richards blatantly refused to engage with adverse evidence here when

                   21   he relied only on his own subjective beliefs, (e.g., Richards Depo Tr. at 96:4–100:25 (relying on

                   22   his “expertise” seven times when repeatedly asked about the bases for his opinions)). 7

                   23          Plaintiffs attempt to sidestep the highly circular logic that Prof. Richards used to define and

                   24   determine “societal norms” in this case.” See United States v. Vera, 770 F.3d 1232, 1247–48 (9th

                   25   Cir. 2014) (excluding expert analysis as “circular” and being grounded in “speculation” where

                   26   opinion that defendants used coded language common to drug smugglers was based on his pre-

                   27
                        7
                   28    For instance, Prof. Richards purposefully ignored third-party disclosures that could inform what
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                        Google account holders knew, including whether they consented to the conduct. (See Mot. at 19.)
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                    1   existing belief that they were drug smugglers). But without any reliable definition of “societal

                    2   norm,” aside from Prof. Richards’ own subjective beliefs, it is unclear how he can equate them with

                    3   the “reasonable expectation of privacy” or “consumer expectations” (let alone offer any expert

                    4   conclusions on them). Because Plaintiffs failed to respond to this argument, and because it is fatal

                    5   to every single opinion Prof. Richards offers, the Court should exclude his report in its entirety. 8

                    6          Plaintiffs again rely on Brooks v. Thompson to support Prof. Richards’ qualitative opinions

                    7   and the methodology he purported to use. That reliance is again misplaced. First, and importantly,

                    8   Prof. Turow in Brooks limited his opinions to whether societal and ethical privacy rights—namely,

                    9   the right to control one’s information and the right to be let alone—of putative class members were

                   10   harmed (in any manner) through use of one particular product. Turow Rpt. at 8. In contrast, Prof.

                   11   Richards opines about the subjective understandings and expectations of Google account holders

                   12   with respect to Google RTB, which is not about legal rights or privacy law. (See, e.g., Richards

                   13   Rpt. ¶¶ 6, 130–31 (opining there is “common evidence” that Google’s disclosures “give rise to a

                   14   common (false) expectation that Google does not offer for sale or sell information” related to

                   15   account holders).) In addition, the court in Brooks held that Prof. Turow could rely on consumer

                   16   surveys to make general points about privacy but made clear that he could not use those surveys to

                   17   opine about “specific consumer sentiment” regarding the product at issue. 2023 WL 5667884, at

                   18   *6 (holding the opinions on surveys were “cabin[ed] . . . solely” to “general views on privacy” and

                   19   not to opine on “specific consumer sentiment on CLEAR”). In contrast, Prof. Richards uses

                   20   documents about real-time bidding generally, or ones that do not mention Google, to make

                   21   conclusions about “specific consumer sentiment” on Google RTB. See id. (See also Richards Rpt.

                   22   ¶¶ 107, 118.) Thus, Brooks is entirely distinguishable.

                   23          Moreover, Plaintiffs falsely claim that Google argued Prof. Richards’ opinions should be

                   24   excluded because he failed to conduct a survey. (See Opp. at 19–23.) But Google’s own authority

                   25   made clear that surveys are not required. (Mot. at 18.) Instead, Google argued that in light of his

                   26   lack of qualifications and the flawed and circular methods that were employed, it was equally telling

                   27
                        8
                   28    Further, as noted above, Prof. Richards did not actually compile and identify the various pieces
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                        of “common evidence” that support Opinions 2, 4–5.
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                    1   what Prof. Richards failed to do in this case. See Brown, 2022 WL 17961497, at * 11, n.8 (noting

                    2   “a survey might have helped in this case given his lack of relevant expertise on the specific opinions

                    3   at issue,” and concluding that plaintiffs had not met their burden in demonstrating the expert’s

                    4   methods were reliable). Regardless, Google primarily took aim at Prof. Richards’ failure to speak

                    5   to a single putative class member in this case, whether through interviewing the named Plaintiffs

                    6   or conducting focus groups or surveys. (Mot. at 18–19.) Plaintiffs cite Brooks to argue that Prof.

                    7   Richards was not required to speak to any putative class members, (Opp. at 21–22 (arguing Prof.

                    8   Richards need not have talked to putative class members, because his opinion is simply that Google

                    9   “promises” not to engage in certain conduct, i.e., a legal conclusion)), but Plaintiffs fail to recognize

                   10   that, unlike Brooks, Prof. Richards offers opinions about specific consumer expectations.

                   11           In sum, Prof. Richards did not use reliable methods to formulate any of his opinions in this

                   12   case when he employed a highly circular definition of “societal norms.” Because Plaintiffs failed

                   13   to address this argument in their Opposition, the Richards Report should be excluded in its entirety.

                   14
                                        3.      Plaintiffs Concede Prof. Richards Refused to Answer a Single Question
                   15                           Regarding How Google RTB Works.

                   16           Plaintiffs’ citations confirm why Prof. Richards cannot rely on the findings of Dr. Shafiq.

                   17   They cite to Finjan, Inc. v. Sophos, Inc., 2016 WL 4560071, at *12 (N.D. Cal. Aug. 22, 2016), for

                   18   the proposition that it is “reasonable” for experts to rely on opinions offered by experts in other

                   19   fields “as background material.” First, Prof. Richards did not simply rely on Dr. Shafiq’s findings

                   20   as “background material.” Prof. Richards’ reliance on Dr. Shafiq’s findings are the entire basis on

                   21   which Prof. Richards opines that there is “common evidence” that “the scope and quantity of

                   22   information about and/or associated with individual U.S. Google account holders” transmitted

                   23   through Google RTB is “at extreme odds with fundamental privacy rights and societal privacy

                   24   norms in the U.S.” (Richards Rpt. ¶¶ 4, 100.) Without Dr. Shafiq’s findings, Prof. Richards has no

                   25   other basis for his opinion regarding how Google RTB works, aside from unsubstantiated

                   26   allegations by Plaintiffs’ counsel in the operative complaint.

                   27           Second, as Finjan made clear, the federal rules “do[] not permit an expert to simply parrot

                   28   the opinions of other experts.” 2016 WL 4560071, at *12 (citing Deutz Corp. v. City Light & Power,
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                    1   Inc., 2009 WL 2986415, at *6 (N.D. Ga. Mar. 21, 2009).) But that is precisely what Prof. Richards

                    2   did here. When asked to explain the basis for his opinion, he flatly refused to answer a single

                    3   question even if it was not “technical.” 9 For example, when asked how participants in Google RTB

                    4   could “assemble detailed profiles” on users—an assumption critical to Opinion 2 that there is

                    5   common evidence that Google RTB violates privacy norms—he responded, “I am not a technical

                    6   expert” and that he was “not going to answer technical questions because they’re beyond [his] area

                    7   of expertise.” (Richards Depo Tr. at 164:10–165:1.) In refusing to answer any questions about how

                    8   RTB works, Prof. Richards impeded Google’s ability to assess “the assumptions” on which his

                    9   opinion rested, including the “common evidence” that Prof. Richards claims exists. See ZF Meritor,

                   10   LLC v. Eaton Corp., 696 F.3d 254, 293 (3d Cir. 2012) (affirming exclusion of an expert witness

                   11   who did not understand the expert work relied upon); LaCombe v. A-T-O, Inc., 679 F.2d 431, 435

                   12   n.5 (5th Cir. 1982) (explaining if opinions are based on the work of others, they must be combined

                   13   with the expert’s own professional knowledge and experience about that type of work).

                   14
                                C.      Prof. Richards Provides No Expertise in Summarizing Google’s Documents
                   15                   and Improperly Draws Conclusions About Google’s State of Mind.

                   16           Contrary to Plaintiffs’ claims, Prof. Richards simply quotes from Google documents

                   17   without providing any further context, discussion, or expertise. (See Opp. at 23–24; see also

                   18   Richards Rpt. ¶¶ 74, 126, 136.) Prof. Richards cites to Google documents in two primary sections

                   19   within his report; in both, Prof. Richards only lists the title of the document, the date (if available),

                   20   and quotes—but nothing more. (See Richards Rpt. ¶¶ 74(a)–(i), 126(a)–(e).) Only on a single

                   21   occasion does Prof. Richards try to engage with any of the documents, when he claims that

                   22   Google’s opt-out rate for personalized ads was “small,” (id. ¶ 136(c)), but he conceded during his

                   23   deposition that he does not actually know what the opt-out rates are for other platforms, and

                   24   therefore had no basis to offer this view, (Richards Depo Tr. at 187:7–10). Prof. Richards otherwise

                   25   simply regurgitates documents and provides no value while doing so.

                   26
                        9
                          See, e.g., Richards Depo Tr. at 143:21–22 (“That’s a technical question, and I will defer to the
                   27   technical experts on that.”), 144:6–10 (“But, again, all questions relating to the technical operation
                        of RTB and particularly to the computer science and data science of RTB are outside my expertise
                   28   and certainly outside the scope of my report.”), 163:13–14 (“That is a technical question, and I
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                        defer to the technical experts.”).
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                    1          Prof. Richards relies on Google documents, without any analysis, to draw conclusions about

                    2   Google’s state of mind. Plaintiffs claim that Prof. Richards simply opines that “a jury or trier of

                    3   fact may conclude” certain things about Google’s state of mind, but this is an attempt to fall back

                    4   on couching each of Prof. Richards opinions in terms of there being “common evidence” of certain

                    5   propositions. (See Opp. at 25.) This opinion should be excluded because it is not the proper role of

                    6   an expert and Prof. Richards is not an expert on class actions or the certification process.

                    7          D.      Prof. Richards’ Opinions Do Not Fit the Needs of this Case.
                    8          Google did not argue that Prof. Richards’ opinions were simply not “relevant.” (Opp. at 10

                    9   (cleaned up).) Instead, it argued that his opinions did not “fit” this case. It did so for good reason:

                   10   the fit requirement “is more stringent than the relevancy requirement of Rule 402 of the Federal

                   11   Rules of Evidence, ‘reflecting the special dangers inherent in scientific expert testimony.’” Senne

                   12   v. Kansas City Royals Baseball Corp., 591 F. Supp. 3d 453, 479 (N.D. Cal 2022).

                   13          To the extent the Court finds that Prof. Richards is qualified to offer his opinions and that

                   14   they were reliably formulated, they do not fit the needs of this case. Prof. Richards claimed that

                   15   consent was entirely “irrelevant” to determining whether privacy rights of Google account holders

                   16   was violated in this case. (Richards Dep Tr. at 177:4–8.) When asked why consent was irrelevant,

                   17   Prof. Richards retorted that he was not offering legal opinions on the reasonable expectation of

                   18   privacy or consent. (Richards Dep. Tr. at 181:21–23.) Rather, he stated that he was opining “on

                   19   consent in terms of expectations of consent and practical ability and norms surrounding consent,

                   20   the pathologies of consent that I talk about in the article [introduced as an exhibit], means that

                   21   consent, in this situation, would be so far from knowing involuntary gold standard consent as to be

                   22   meaningless.” (Id. at 181:23–182:5.) This is not grounded in the law of this case or even common

                   23   sense. According to Prof. Richards’ views on privacy as offered in his report, one’s expectation of

                   24   privacy is completely unaffected by disclosure, explicit consent, or implied consent through

                   25   continued use after knowledge. These opinions do not fit the needs of this case and should be

                   26   excluded. See Brown, 2022 WL 17961497, at *19.

                   27   III.   CONCLUSION
                   28          For these reasons, the Court should grant the Motion.
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                    1
                        Dated: November 14, 2023              COOLEY LLP
                    2

                    3
                                                              By: /s/ Kyle C. Wong
                    4                                             Kyle C. Wong
                    5                                         Attorney for Defendant
                                                              GOOGLE LLC
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